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                                                                                                       U.S. DISTRICT COURT
                                                                                                  EASTERN DISTRICT OF MICHIGAN
                                                                                                   SOUTHERN DIVISION-DETROIT

                                                                                 UNITED STATES OF AMERICA

                                                                                                    Plaintiff,
                                                                                 v.                                                        Case No. 14-20119
                                                                                                                                           Hon. Nancy Edmunds

                                                                                 D-4 MARIO GARNES.

                                                                                                    Defendants.

                                                                                 __________________________________________________________/
                                                                                 UNITED STATES ATTORNEY              AMBERG & AMBERG, PLLC
                                          C O U N S E L O R S




                                                                                 Barbara L. McQuade (P45423)         James W. Amberg (P68564)
                   104 W. FOURTH STREET, SUITE 305




                                                                                 Eric Doeh (P69652)                  Attorneys for Defendant Garnes
                                                                                 Attorneys for the Government        104 W 4th St., Suite 305
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                                                                                  DEFENDANT GARNES’S MOTION IN LIMINE TO SUPPRESS EVIDENCE OF
                                                                                  TATTOOS, SONG LYRICS, AND MARIJUANA GROW UNDER FRE 402, 403,
                                                                                                           AND 404(a)

                                                                                                                 Certificate of Service
                                                                                                                   Brief in Support
                                                                                                                  Notice of Hearing

                                                                                                                      _________________________

                                                                                       Now comes Mario Garnes, by his attorney, James Amberg, and respectfully

                                                                                 requests this Court to exclude any reference to Mr. Garnes’s tattoos, the song

                                                                                 lyrics discovered during the search of Mr. Garnes residence, and any evidence

                                                                                 relating to the marijuana grow found at said residence because the evidence fails

                                                                                 to meets the standards of FRE 402, 403, and 404(a).
                                         Case 2:14-cr-20119-NGE-DRG ECF No. 175, PageID.668 Filed 03/10/15 Page 2 of 12




                                                                                       Pursuant to LCR 7.1, counsel for Mr. Garnes contacted AUSA Eric Doeh

                                                                                 seeking concurrence in the relief requested in this Motion on Monday, March 10,

                                                                                 2015. Concurrence was denied.

                                                                                                                             Respectfully submitted,

                                                                                                                             /s/James W. Amberg______
                                                                                                                             AMBERG & AMBERG, PLLC
                                                                                                                             James W. Amberg P68564
                                                                                                                             Attorneys for D-4 Mario Garnes
                                                                                                                             104 W 4th St., Suite 305
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                                                                                                                             248.681.0115 (fax)
                                                                                 Dated: March 10, 2015
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                                                                                                               Notice of Hearing
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                                                                                       Take notice that the Motion described within this document will be heard as
                                                                                 soon as possible.
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                                                                                                             Certificate of Service

                                                                                       I, James W. Amberg, attorney at law, certify that on March 10, 2015, I
                                                                                 caused a copy of this pleading to be served upon the Clerk of the Court and United
                                                                                 States District Attorney via E-File.


                                                                                                                       /s/ James W. Amberg________
                                                                                                                       James W. Amberg (P68564)




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                                                                                                           U.S. DISTRICT COURT
                                                                                                      EASTERN DISTRICT OF MICHIGAN
                                                                                                       SOUTHERN DIVISION-DETROIT

                                                                                 UNITED STATES OF AMERICA

                                                                                                        Plaintiff,
                                                                                 v.                                                            Case No. 14-20119
                                                                                                                                               Hon. Nancy Edmunds

                                                                                 D-4 MARIO GARNES.

                                                                                                        Defendants.

                                                                                 __________________________________________________________/
                                                                                 UNITED STATES ATTORNEY              AMBERG & AMBERG, PLLC
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                                                                                   BRIEF IN SUPPORT OF DEFENDANT GARNES’S MOTION IN LIMINE TO
                                                                                 SUPPRESS EVIDENCE OF TATTOOS, SONG LYRICS, AND MARIJUANA GROW
                                                                                                  UNDER FRE 402, 403, AND 404(a)
                                                                                                  _____________________________

                                                                                      I.       INTRODUCTION

                                                                                            Mario Garnes requests this Court to exclude any reference to Mr. Garnes’s

                                                                                 tattoos, the song lyrics discovered during the search of Mr. Garnes residence, and

                                                                                 any evidence relating to the marijuana grow found at said residence

                                                                                            The evidence complained of should be excluded as inadmissible character

                                                                                 evidence which is irrelevant and highly prejudicial to the case against Mr. Garnes.

                                                                                      II.      STATEMENT OF THE CASE AND RELEVANT FACTS

                                                                                            The Third Superseding Indictment was returned on March 4, 2015, charging

                                                                                 nine defendants in six separate counts. Of those counts, Mr. Garnes is specifically




                                                                                                                              3
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                                                                                 charged with Count 1, RICO Conspiracy, and Count 6, Possession of a Firearm in

                                                                                 Furtherance of a Crime of Violence.

                                                                                       According to reports, it appears that it is the position of the Government

                                                                                 that from approximately from 2007 and until recently, Mr. Garnes, as well as the

                                                                                 other co-defendant, were members of what has been labeled the “Bounty Hunter

                                                                                 Blood” gang (hereafter “BHB”). During this course of time, it is alleged that

                                                                                 members of the BHB were involved in various unlawful conduct, including illegal

                                                                                 weapon possession, narcotic trafficking, and murder. The outcome of these

                                                                                 activities ultimately resulted in the Government choosing to pursue the BHB’s as a
                                          C O U N S E L O R S




                                                                                 criminal organization under the RICO act.
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                                                                                       As to Mr. Garnes, the Government has put forward allegations that he was
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                                                                                 involved with numerous overt acts in aid of the BHBs. Viewing the 73 listed overt
                                   A N D




                                                                                 acts in the Overt Acts portion of the Third Superseding Indictment, it is alleged
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                                                                                 that Mr. Garnes:

                                                                                       (¶12) possessed with the intent to distribute and distributed controlled
                                                                                       substances, including heroin, powder cocaine, crack cocaine, ecstasy,
                                                                                       Vicodin, and marijuana;

                                                                                       (¶38) posted a Facebook message offering to be a middle man to help
                                                                                       sell pounds of marijuana;

                                                                                       (¶39) posted a Facebook message in which he discussed borrowing
                                                                                       guns from a fellow BHB member; and

                                                                                       (¶56) possessed BHB paraphernalia, pictures of BHB tattoos,
                                                                                       marijuana and other drug trafficking materials.

                                                                                       Of importance to this Motion, on October 24, 2013, a search warrant was

                                                                                 executed at 16232 Hartwell Street, Detroit, Ml 48235. As this was Mr. Garnes

                                                                                 residence, he was discovered and restrained. The search resulted in the discovery

                                                                                 of what has been labeled BHB ‘paraphernalia’ by the Government. This included a

                                                                                 notebook containing song lyrics, lists of names, drawings, and other information.



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                                                                                 Additionally, Agents photographed Mr. Garnes various tattoos. Finally, a marijuana

                                                                                 grow operation and devices consistent with said operation were also discovered.

                                                                                       ARGUMENT

                                                                                       FRE 404(a) states that “[e]vidence of a person’s character or character trait

                                                                                 is not admissible to prove that on a particular occasion the person acted in

                                                                                 accordance with the character or trait.” FRE 402 states that “[e]vidence which is

                                                                                 not relevant is not admissible.” FRE 401 states that ‘“Relevant Evidence’ means

                                                                                 evidence having any tendency to make the existence of any fact that is of

                                                                                 consequence to the determination of the action more probable or less probable
                                          C O U N S E L O R S




                                                                                 than it would be without the evidence.” FRE 403 indicates that “[a]lthough
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                                                                                 relevant, evidence may be excluded if its probative value is substantially
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                                                                                 outweighed by the danger of unfair prejudice, confusion of the issues, or
                                   A N D




                                                                                 misleading the jury, or by considerations of undue delay, waste of time, or
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                                                                                 needless presentation of cumulative evidence.”

                                                                                       “To determine whether the proffered evidence is admissible for a proper

                                                                                 purpose, the court must decide ‘whether that evidence is probative of a material

                                                                                 issue other than character.”’ United States v Carney, 387 F3d 436, 451 (6th Cir.

                                                                                 2004) (quoting Huddleston v United States, 485 US 681, 686 (1988) Accordingly,

                                                                                 the 6th Circuit has offered the following guidance in determining admissibility:

                                                                                       “First, the trial court must ascertain whether the proffered evidence is
                                                                                       relevant and admissible for a proper purpose. United States v Zelinka, 862
                                                                                       F2d 92, 98 (6th Cir. 1988) To be relevant, “the evidence must relate to a
                                                                                       matter which is ‘in issue,’ and must deal with conduct substantially similar
                                                                                       and reasonably near in time to the offenses for which the defendant is being
                                                                                       tried.” United States v Blankenship, 775 F2d 735, 739 (6th Cir.1985)
                                                                                       (citations omitted) To determine whether the proffered evidence is
                                                                                       admissible for a proper purpose, the trial court must decide, “whether that
                                                                                       evidence is probative of a material issue other than character.” Huddleston
                                                                                       v United States, 485 US 681, 686 (1988)

                                                                                       Finally, the court must determine whether the probative value of the
                                                                                       evidence is “substantially outweighed by the danger of unfair prejudice.”


                                                                                                                           5
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                                                                                          Fed. R. Evid. 403; Huddleston, 485 US at 687 The district court has broad
                                                                                          discretion in balancing probative value against potential prejudicial impact.
                                                                                          United States v Dabish, 708 F2d 240, 243 (6th Cir.1983)”

                                                                                          Quoting United States v Carney, 387 F3d 436, 451 (6th Cir. 2004)

                                                                                          In determining whether the offered evidence is probative of a material issue

                                                                                 other than character, the court must apply a three part inquiry as follows: “(1) the

                                                                                 evidence is offered for an admissible purpose, (2) the purpose for which the

                                                                                 evidence is offered is material or ‘in issue,’ and (3) the evidence is probative with

                                                                                 regard to the purpose for which it is offered.” United States v Bell, 516 F3d 432,

                                                                                 441 (2008) Accordingly, the “government's purpose in introducing the evidence
                                          C O U N S E L O R S




                                                                                 must be to prove a fact that the defendant has placed, or conceivably will place, in
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                                                                                 issue, or a fact that the statutory elements obligate the government to prove.”
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                                                                                 United States v Merriweather, 78 F3d 1070, 1074 (6th Cir. 1996)
                                   A N D




                                                                                          I.     Mr. Garnes Tattoos
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                                                                                          During the aforementioned search of his home, Agents extensively

                                                                                 photographed Mr. Garnes various tattoos. (See exhibit A, Tattoo Pictures)

                                                                                 Specifically, these tattoos included pictures of dogs, the word “Bl24dhound,1” the

                                                                                 word “Gabriel,” a representation of the Detroit Chimera Mural by artist Kobie

                                                                                 Solomon, a drawing of a revolver, as well as additional pictures. It is assumed that

                                                                                 the Government will attempt to introduce these tattoos in order to prove Mr.

                                                                                 Garnes alleged gang involvement.

                                                                                          Applying a relevancy analysis to the evidence of the tattoos, it is argued that

                                                                                 they are irrelevant to any issues in the case at hand and are inadmissible for any

                                                                                 other purpose. The vast majority of Mr. Garnes’s tattoos have meanings which

                                                                                 seem to indicate a pride in the City of Detroit (the Detroit Chimera Mural), love of

                                                                                 animals (pictures of dogs), and references to religion (ex. the angel Gabriel).

                                                                                 1
                                                                                     It is unclear from the discovery exactly how the bloodhound tattoo is spelled.

                                                                                                                                 6
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                                                                                       Accordingly, the only tattoo with any argument for admissibility under a

                                                                                 proper purpose is that of the “Bl24dhound” tattoo. “Evidence of gang affiliation is

                                                                                 relevant where it demonstrates the relationship between people and that

                                                                                 relationship is an issue in the case, such as in a conspiracy case. United States v

                                                                                 Ford, 761 F3d 641, 649 (6th Cir. 2015) “However, gang affiliation evidence is

                                                                                 inadmissible if there is no connection between the gang evidence and the charged

                                                                                 offense.” Id at 649-650 (internal citations omitted) Other Circuits have dealt with

                                                                                 this issue, finding tattoos inadmissible when they are only admitted to show

                                                                                 membership in a gang, because “the possibility that a jury will attach a propensity
                                          C O U N S E L O R S




                                                                                 for committing crimes to defendants who are affiliated with gangs or that a jury’s
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                                                                                 negative feelings toward gangs will influence its verdict.” United States v Irvin, 87
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                                                                                 F3d 860, 865 (7th Cir. 1996)
                                   A N D




                                                                                       In the case at hand, any reference to the Bl24dhound tattoo must be
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                                                                                 suppressed as the evidence is simply general gang affiliation evidence. It is the

                                                                                 responsibility of the Government to provide a proper purpose for this evidence, of

                                                                                 which there appears to be no specific connection between the tattoo and the BHB.

                                                                                 Thus suppression is appropriate because otherwise the jury will be left to conclude

                                                                                 Mr. Garnes involvement with the BHB simply from a tattoo that could have many

                                                                                 different meanings. For example, a jacket of the AGH Highriders motorcycle club

                                                                                 belonging to Mr. Garnes was discovered during the search. There is as much of an

                                                                                 argument that any symbolic tattoo could be related to his membership in that

                                                                                 organization unless the Government can produce an expert specifically versed in

                                                                                 the dealings of the BHB Detroit who could testify otherwise.

                                                                                       II.    Song Lyrics

                                                                                       During the search of Mr. Garnes residence, a notebook was discovered.

                                                                                 Included in the notebook were the apparent rough draft lyrics to four separate


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                                                                                 songs, namely “My Favorite Weapon,” “Shottas,” “My Bitch,” and “Good Morning.”

                                                                                 (See exhibit b, Song Lyrics) Although counsel is admittedly aloof when it comes

                                                                                 to the hidden themes and meanings of songs, a clear viewing of the four songs

                                                                                 seem to indicate that the writer uses the reference of objects such as ‘his favorite

                                                                                 weapon’ or allusions to things such as ‘my bitch,’ as metaphors for deeper

                                                                                 meanings. For example, ‘My Bitch’ throughout the song discusses what appears to

                                                                                 be a love interest of the author. Yet at the end of the song, the truth is revealed,

                                                                                 as the author tells the audience that ‘My Bitch’ is not a person, rather “Mary Jane,”

                                                                                 a common slang for marijuana. The metrical structure of ‘My Favorite Weapon’
                                          C O U N S E L O R S




                                                                                 seems to follow this same pattern, although the author stops short of letting the
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                                                                                 listener know exactly what his or her favorite weapon actually is.
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                                                                                        Another of the songs, ‘Shottas,’ at first glance appears to be a discussion
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                                                                                 involving possible vague allusions to gang activity. However, a more detailed
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                                                                                 reading of the song suggests that the author, a “Shotta,” in fact is criticizing an

                                                                                 anonymous gang or gang members for their apparent lack of organization. This

                                                                                 notion is seconded by the argument that a ‘shotta,’ is apparently a word of

                                                                                 Jamaican origin which symbolizes an individual who does not need to be in a crew

                                                                                 or run with anyone.2    In fact, a viewing of the Facebook evidence appears to

                                                                                 indicated that “Shotta” is in fact the name of Mr. Garnes’s dog. (See exhibit c,

                                                                                 Facebook Evidence Pg. 791) Allegorical lyrics about one’s dog are not unheard of

                                                                                 in popular culture. (See ex Sweet Child of Mine by Guns and Roses)

                                                                                        Viewing these song lyrics, they have no relevancy to the issues involved in

                                                                                 the case at hand. Because the meanings of the songs are vague and seem to not

                                                                                 involve issues of gang membership or activities, the probative value of them is
                                                                                 2
                                                                                   Counsel conducted internet searches regarding the term ‘Shottas’ and although the
                                                                                 websites (for ex. http://www.urbandictionary.com/define.php?term=shotta ) would likely
                                                                                 be thought of as marginally accurate at best, the same types of definitions were repeated
                                                                                 throughout nearly all sites discussing this slang term.

                                                                                                                             8
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                                                                                 nebulous. However, if they were to be admitted against Mr. Garnes, the prejudicial

                                                                                 effect of them would be tremendous as it would allow the jury to formulate their

                                                                                 own conclusions on the meanings of the songs and make unsubstantiated

                                                                                 conclusions based with no evidentiary foundation.

                                                                                       Additionally, even if the Court finds the lyrics to survive the relevancy

                                                                                 analysis, they must be barred as they are the author’s protected speech under the

                                                                                 First Amendment. In the context of a sentencing hearing, the Supreme Court has

                                                                                 reasoned that the First Amendment bars the admission of a defendant’s “abstract

                                                                                 beliefs . . . when those beliefs have no bearing on the issue being tried.” Dawson v
                                          C O U N S E L O R S




                                                                                 Delaware, 503 US 159, 168 (1992) Nor may the Government introduce a
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                                                                                 defendant’s speech simply to paint that defendant as “morally reprehensible”
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                                                                                 based on the views expressed. See ex United States v Fell, 531 F3d 197, 229 (2d
                                   A N D




                                                                                 Cir. 2008) Thus the author’s lyrics seem to fit the definition of ‘abstract,’ and must
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                                                                                 be barred.

                                                                                       III.     Marijuana Grow Operation

                                                                                       The search of Mr. Garnes residence resulted in the discovery of twelve

                                                                                 marijuana plants, a scale, and other marijuana related paraphernalia. Additionally,

                                                                                 and of great importance to this Motion, Mr. Garnes Michigan Medical Marijuana

                                                                                 card and Physician Certification were also discovered.

                                                                                       As the Court is certainly aware, the citizenry of Michigan recently passed the

                                                                                 Michigan Medical Marihuana Act, MCL §333.26421, et seq. This Citizens Initiative

                                                                                 law allows for “registered patients” to be in possession, grow, and use certain

                                                                                 amounts of marijuana. There are two separate defenses statutorily available to a

                                                                                 medical marijuana patient, a Section §4 defense in which the individual must meet

                                                                                 certain statutory requirements set forth in MCL §333.26424. MCL §333.26424(1)

                                                                                 states that:


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                                                                                       “A qualifying patient who has been issued and possesses a registry
                                                                                       identification card shall not be subject to arrest, prosecution, or
                                                                                       penalty in any manner, or denied any right or privilege, including but
                                                                                       not limited to civil penalty or disciplinary action by a business or
                                                                                       occupational or professional licensing board or bureau, for the medical
                                                                                       use of marihuana in accordance with this act, provided that the
                                                                                       qualifying patient possesses an amount of marihuana that does not
                                                                                       exceed 2.5 ounces of usable marihuana, and, if the qualifying patient
                                                                                       has not specified that a primary caregiver will be allowed under state
                                                                                       law to cultivate marihuana for the qualifying patient, 12 marihuana
                                                                                       plants kept in an enclosed, locked facility. Any incidental amount of
                                                                                       seeds, stalks, and unusable roots shall also be allowed under state law
                                                                                       and shall not be included in this amount. The privilege from arrest
                                                                                       under this subsection applies only if the qualifying patient presents
                                                                                       both his or her registry identification card and a valid driver license or
                                                                                       government-issued identification card that bears a photographic image
                                                                                       of the qualifying patient.” Id
                                          C O U N S E L O R S




                                                                                       As a qualifying patient, Mr. Garnes was certainly allowed to possess the
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                                                                                 twelve plants discovered during the search. Further, it is noted that the searching
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                                                                                 agents actually acknowledged such, but indicated that this may not have passed
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                                                                                 state muster do to the lack of a lock on the door to the room where the marijuana
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                                                                                 was found.

                                                                                       Even if that Mr. Garnes is unable to meet these requirements, MCL

                                                                                 §333.26428 allows for dismissal of the criminal charge if, at an evidentiary

                                                                                 hearing, he establishes the following three elements:

                                                                                       (1) a physician has stated that, in the physician's professional opinion,
                                                                                       after having completed a full assessment of the patient's medical
                                                                                       history and current medical condition made in the course of a bona
                                                                                       fide physician-patient relationship, the patient is likely to receive
                                                                                       therapeutic or palliative benefit from the medical use of marihuana;

                                                                                       (2) the defendant did not possess an amount of marijuana that was
                                                                                       more than reasonably necessary for this purpose; and

                                                                                       (3) the defendant's use was to treat or alleviate the patient's serious
                                                                                       or debilitating medical condition or symptoms.” People v Kolanek, 491
                                                                                       Mich 382, 415-416; 817 NW2d 528 (2012)




                                                                                                                          10
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                                                                                        There is no question that Mr. Garnes possessed a physician certification

                                                                                 which indicated that he would benefit from the use of marijuana.3 The amount of

                                                                                 marijuana discovered in his possession was a reasonable amount necessary to

                                                                                 treat his condition. His condition, a debilitating version of Crohn’s disease, is an

                                                                                 enumerated debilitating medical condition MCL §333.26423(b)(1). Simply put, if

                                                                                 this were a State prosecution, Mr. Garnes would have a slam dunk defense to any

                                                                                 charges involving the manufacturing, possession, or use of the marijuana

                                                                                 discovered.4

                                                                                        Because Mr. Garnes was not breaking any state laws with regard to his
                                          C O U N S E L O R S




                                                                                 possession and use of medicinal marijuana, the issue now must become what
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                                                                                 relevancy the evidence of the marijuana grow operation would have to the case at
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                                                                                 hand. It is argued that there is no relevance to any fact at issue because the only
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                                                                                 evidence of the alleged participation of Mr. Garnes in Overt Act ¶12, outside of the
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                                                                                 discovered marijuana grow, is a vague reference found on Facebook (see Overt Act

                                                                                 ¶38) in which it is alleged that Mr. Garnes allegedly offered to be a middle man to

                                                                                 help sell pounds of marijuana.

                                                                                        Even if the Court finds some other evidence that Mr. Garnes was selling

                                                                                 marijuana illegally, it is further irrelevant to the case at hand unless the

                                                                                 Government can somehow evidence Mr. Garnes doing this for the BHB. Counsel

                                                                                 has scoured the discovery and is unable to find anything that would indicate Mr.

                                                                                 Garnes selling any type of narcotic, let alone specifically marijuana for the BHB.

                                                                                 Thus the marijuana grow operation evidence is irrelevant.



                                                                                 3
                                                                                   This is seconded by his bond conditions in the case at hand as Mr. Garnes is permitted to
                                                                                 use Marinol, an FDA approved pharmaceutical, which contains the same active ingredients
                                                                                 as marijuana.
                                                                                 4
                                                                                   Counsel has won these types of cases with far worse facts. See ex People v Sommer (MI
                                                                                 COA No. 319184)(case stayed pending outcome of People v Hartwick, 496 Mich 851; 846
                                                                                 NW2d 922 (2014))

                                                                                                                             11
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                                                                                       In addition to its irrelevancy, the marijuana grow operation serves little

                                                                                 probative value to any issues involved in the case, yet if introduced will have a

                                                                                 great prejudicial effect on the jury. Mr. Garnes marijuana grow was nothing more

                                                                                 than a legal method to procure his medicine used to treat his Crohn’s disease. If it

                                                                                 is allowed to be introduced, the Government will certainly do so with the argument

                                                                                 that Mr. Garnes was growing this marijuana for the BHB, an accusation which

                                                                                 carries with it no evidential weight. Nevertheless, this evidence will surely mislead

                                                                                 the jury and will confuse the issues. Thus all evidence of the marijuana grow

                                                                                 operation must be suppressed.
                                          C O U N S E L O R S




                                                                                    III.   CONCLUSION
                   104 W. FOURTH STREET, SUITE 305




                                                                                       Defendant Garnes requests this Court to exclude any reference to his
                         WWW.AMBERGLAW.NET
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AMBERG, PLLC




                            ______________________

                                                                (248) 681-6255




                                                                                 tattoos, the song lyrics discovered during the search, and any evidence relating to
                                   A N D




                                                                                 the marijuana grow. Simply put, the evidence as it exists would serve no
& AMBERG
               A T T O R N E Y S




                                                                                 admissible purpose except as improper character evidence barred by FRE 404(a).

                                                                                                                               Respectfully submitted,

                                                                                                                               /s/James W. Amberg______
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                                                                                 Dated: March 10, 2015




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